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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


  MARYLAND CHAPTER OF THE SIERRA
  CLUB, et al.,
                Plaintiffs,

         v.                                                     Civil Action No. DKC 22-2597

  FEDERAL HIGHWAY
  ADMINISTRATION, et al.,

                    Defendants.
  __________________________________________

  NORTHERN VIRGINIA CITIZENS’
  ASSOCIATION,

                        Plaintiff,

         v.                                                     Civil Action No. DKC 22-3336

  FEDERAL HIGHWAY
  ADMINISTRATION, et al.,

                        Defendants.


                            [PROPOSED] ORDER ON
                    CROSS-MOTIONS FOR SUMMARY JUDGMENT

       Upon consideration of the cross-motions for summary judgment filed by the parties in the

above-captioned consolidated cases and all materials in support of and opposition thereto, the

Court hereby DENIES Plaintiffs’ Joint Motion for Summary Judgment and GRANTS

Defendants’ Cross-Motions for Summary Judgment. For the reasons set forth in a corresponding

Memorandum Opinion, the Court hereby ORDERS as follows:

       (1) Plaintiffs’ Joint Motion for Summary Judgment is DENIED as to all claims for relief

           in the complaint, ECF No. 1, filed by Plaintiffs Maryland Chapter of the Sierra Club,
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   Friends of Moses Hall, National Trust for Historic Preservation, and Natural

   Resources Defense Council;

(2) Plaintiffs’ Joint Motion for Summary Judgment is DENIED as to the claim for relief

   in the complaint, ECF No. 36, filed by Plaintiff Northern Virginia Citizens

   Association;

(3) Federal Defendants’ Cross-Motion for Summary Judgment is GRANTED; and

(4) State Defendants’ Cross-Motion for Summary Judgment is GRANTED.



SO ORDERED this _____ day of ______, 202____.



                                                   __________________________
                                                   DEBORAH K. CHASANOW
                                                   United States District Judge
